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AO 440(Rev.06/12) Summons in a Civil Action


                                    United States District Court
                                                             for the

                                                  Western District of Texas     PI

               MARK ANTHONY ORTEGA                            )
                                                              )
                                                              )
                                                              )
                          Plaintiff(s)                        )
                               V.                               X      Civil Action No.
 LOUIS AMBROSIO and BLOCK EQUITY GROUP,
                   LLC.

                                                             SA24CA0838PB
                                                               )
                         D^endant(s)                           )

                                              SUMMONS IN A CIVIL ACTION

                                  Louis Ambroslo
To: mendarn''           mdaddress)^
                                  64 Philadeiphia
                                     Massapequa Park, New York, 11762




          A lawsuit has been filed against you.

         Within 21 days after service ofthis summons on you(not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee ofthe United States described in Fed. R. Civ.
P. 12(a)(2) or(3)— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintifTs attomey,
whosenam^andaddressare:

                                     San Antonio, TX 78270




         If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.



                                                                          cLERKOFcouRT J*hilip J. Devlip
        JUL 31 2024                                                                £LL -
                                                                                     Signattire 6fClerk or Depu^ Clerk
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